         Case 2:20-cv-00865-CCW Document 141 Filed 06/21/22 Page 1 of 2




                                UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF PENNSYLVANIA
  ------------------------------------------------------ x
  TAYLOR DUKE                                            :
  on behalf of herself and                               :
  similarly situated employees,                          :
                                                         : Civil Action No. 2:20-cv-865 CCW
                    Plaintiff,                           :
                                                         : Electronically Filed
                            v.                           :
                                                         :
  HARVEST HOSPITALITIES, INC.,                           :
  AND SATTAR SHAIK,                                      :
                                                         :
                    Defendants.                          :
  ------------------------------------------------------ x
                         JOINT MOTION FOR ONE-WEEK EXTENSION
            OF TIME TO FILE MOTION FOR PRELIMINARY APPROVAL OF
                                    CLASS ACTION SETTLEMENT

        AND NOW come Plaintiffs and Defendants, through their respective counsel, and hereby

file this joint motion for one-week extension of time for Plaintiffs to file Plaintiffs’ Motion for

Preliminary Approval of Class Action Settlement in this action.

        Per this Court’s Order of May 31, 2022, Plaintiffs shall file their Motion for Preliminary

Approval of Class Action Settlement on or before June 21, 2022. (ECF No. 138.) The Parties have

worked diligently to finalize the agreement and related papers. In the process of finalizing the

agreements, the Parties discovered that the time record dataset on which the Parties will rely in

calculating allocations made pursuant to the Settlement Agreement requires a manual removal of

assistant manager and manager shifts. This manual removal needs to be completed before the

Parties can complete one of the schedules that Plaintiffs’ will attach to the motion for class

certification.

        Accordingly, the Parties request a short extension so that the Parties can complete this

manual removal of assistant manager and manager shifts.



                                                  1
        Case 2:20-cv-00865-CCW Document 141 Filed 06/21/22 Page 2 of 2




       WHEREFORE, the Parties respectfully request the Court enter an order extending the

deadline for Plaintiffs to file their Motion for Preliminary Approval of Class Action Settlement to

June 28, 2022.

                                     *   *       *      *       *

       A proposed order is submitted herewith.

Dated: June 21, 2022
       Pittsburgh, PA
                                                     Respectfully submitted,


 /s/ Joseph H. Chivers                           /s/ Sunshine R. Fellows

 Joseph H. Chivers                               Sunshine R. Fellows, Esquire
    jchivers@employmentrightsgroup.com              sunshine.r.fellows@lewisbrisbois.com
 THE EMPLOYMENT RIGHTS GROUP LLC                 Chloe C. Zidian, Esquire
 First & Market Building                            chloe.zidian@lewisbrisbois.com
 100 First Avenue, Suite 650                     LEWIS BRISBOIS BISGAARD & SMITH
 Pittsburgh, PA 15222                            429 Fourth Avenue, Ste. 805
 Tel.: (412) 227-0763                            Pittsburgh, PA 15219
 Fax: (412) 774-1994                             Tel.: (412) 301-1036
                                                 Fax: (412) 567-5494
 Jeffrey W. Chivers
   jwc@chivers.com                               Counsel for Defendants, Harvest Hospitalities,
 Theodore I. Rostow                              Inc., and Sattar Shaik
   tir@chivers.com
 CHIVERS LLP
 300 Cadman Plaza West
 12th Floor
 Brooklyn, New York 11201
 Tel.: (718) 210-9826/9827

 Counsel for Plaintiff
 and all others similarly situated




                                                 2
